FARMERS ELEVATOR &amp; EXCHANGE, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Farmers' Elevator &amp; Exchange v. CommissionerDocket No. 2258.United States Board of Tax Appeals10 B.T.A. 379; 1928 BTA LEXIS 4130; January 28, 1928, Promulgated *4130  1.  INVENTORIES. - Evidence produced to support petitioner's claim for a modification of the pricing of the closing inventory of 1919 held to be too indefinite and uncertain to warrant a modification thereof.  2.  CLAIMS FOR LOSSES AND DAMAGES. - Claims made by petitioner against transportation companies for losses and damages to goods in transit are properly carried as an asset in the nature of an account receivable until such claims have been rejected or adjusted, when those rejected and any unsettled balance of those adjusted may be properly written off as bad debts.  3.  INCOME-TAX RETURNS. - Petitioner's return for 1919, although designated as a calendar-year return, was actually made on the basis of 11 months ending November 30, and the respondent's adjustment of tax liability appears to have shown the tax liability for an 11-month period.  M. J. Holland, C.P.A., for the petitioner.  Arthur H. Murray, Esq., for the respondent.  TRUSSELL *379  This proceeding results from the determination by respondent of a deficiency in profits and income taxes for 1919 amounting to $1,746.65.  Petitioner alleges that respondent erred with respect*4131  to the inventory at the close of the year 1919 in that he accepted and did not adjust the amount of the inventory as reported in Schedule A-2 of the original return filed by petitioner for the calendar year 1919, whereas the inventory should be revised with respect to (1) the valuation of poultry and produce on hand at Wapello, Iowa, at the close of 1919, and (2) the valuation of dressed poultry in storage at Albany, N.Y., at the close of 1919.  FINDINGS OF FACT.  Petitioner is an Iowa corporation organized in May, 1917, with principal office at Wapello, and is engaged in the buying and selling of produce, grain, feed, coal, and tile.  Petitioner took inventories on or about December 31, 1918, November 30, 1919, and November 30, 1920, and it determined its profits as of those dates.  It filed calendar-year income-tax returns for 1918 and 1919.  The calendar-year return filed by petitioner for 1919 was actually based on the 11-month period ended November 30, 1919.  *380  The inventory of petitioner of November 30, 1919, amounted as follows: Poultry on hand at Wapello, Iowa$7,094.04Dressed poultry on hand at Albany, N.Y4,139.77Various commodities and merchandise10,921.53Total22,155.34*4132  The dressed poultry on hand at Albany was in bad condition and was in cold storage on November 30, 1919.  The taxable net income for 1919 computed by respondent was based on the net profits according to the books, with adjustments, none of which are in issue here.  Respondent accepted the above inventory without adjustment.  Respondent determined a net loss amounting to $18,337.84 for the 12 months ended November 30, 1920, based upon the loss shown by the books for the same period and with adjustments, none of which are at issue here.  The poultry at Albany was sold in 1920.  OPINION.  TRUSSELL: The sole issue before us is a question of the revaluation of poultry on hand on November 30, 1919, which composed a portion of the inventory of the stock in trade of petitioner.  Respondent has accepted the amount of this inventory as reported in the return filed by petitioner, but petitioner seeks a revaluation of the poultry, alleging that it evidently was valued too highly originally.  The poultry was on hand in part at Wapello, and in part in the form of dressed poultry in cold storage at Albany.  The two stocks present separate questions of valuation as will presently appear. *4133  Relative to the poultry on hand at Wapello, it is the claim of petitioner that the valuation was probably an opinion of market value and it far exceeded cost.  The record is devoid of all detail of the original inventory save that it amounted to $7,094.04.  What the items of the physical count were and what the prices used in the inventory were are unknown.  Several years subsequent to the taking of the inventory petitioner employed an accountant, who analyzed the purchases of poultry paid for with bank checks issued subsequent to November 6, 1919, and, accepting a pencil memorandum in the check book as indicative of the fact that there was no poultry on hand on November 6, 1919, and making allowance for sales of poultry, he concluded that the cost of poultry accumulated over the period from November 6, 1919, to November 30, 1919, amounted to $6,052.83 and therefore the inventory if priced at cost could not have exceeded that figure.  However persuasive this reasoning may be that the *381  original inventory may have been erroneous in valuation, it is nevertheless a mere estimate.  The record is too indefinite and uncertain to support a finding of error.  Petitioner claims*4134  the right to revise its valuation of the dressed poultry on hand at Albany.  The record leaves little doubt that this poultry, which was in cold storage, was not in the best of condition in November, 1919, and petitioner was meeting with difficulty in the endeavor to dispose of it at satisfactory prices.  He did not dispose of it until April, 1920.  In one respect the situation is similar to the inventory of poultry at Wapello, for nothing is known of the details save that the dressed poultry at Albany was valued at $4,139.77.  It is in evidence that the method of accounting in use by petitioner did not enable it to ascertain the cost of dressed poultry and the basis upon which the valuation of $4,139.77 was arrived at is not known.  There is evidence of the prices at which the sale of the poultry was made in April, 1920, and of quotations reported of prices offered for fresh-killed poultry in December, 1919.  The evidence does not justify disturbing the inventory originally reported by petitioner.  There was evidence produced at the trial respecting balance sheet items of claims for losses and damages filed against transportation companies and it was argued that these amounts should*4135  not be included in the balance sheet for more than one-half their face.  The record shows that petitioner's claims of this character amounted to $500 at the beginning of the year 1919 and to $2,400 on November 30, 1919, and that adjustments were made in 1920 under which petitioner received $1,200.  Petitioner's counsel argued that the difference between the amount collected in 1920 and the amount appearing on the balance sheet of November 30, 1919, should have been written off as of November 30, 1919.  We are of the opinion, however, that the unsettled and unadjusted portion of these claims might properly be written off as of the year 1920.  In his brief, counsel for the petitioner has argued that inasmuch as petitioner's return for 1919 was designated as a calendar-year return, although based on the closing of accounts as of November 30, 1919, that only eleven-twelfths of the additional tax liability as ascertained by the Commissioner should be charged against the petitioner.  The record, however, seems to establish the fact that the tax liability asserted by the Commissioner was actually computed upon the basis of the 11-month period ended November 30, 1919, and there is no evidence*4136  in the record which would warrant any modification of the computation.  Judgment will be entered for the respondent.